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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

BMO Harris Bank N.A.,                               )
                                                    )                 Case No. 20-cv-00740
                 Plaintiff,                         )
                                                    )                 Hon. Charles P. Kocoras
                 v.                                 )
                                                    )
KMH Systems, Inc.,                                  )
                                                    )
                 Defendant.                         )
                                                    )

      JOINT MOTION TO (I) APPROVE ALL DISTRIBUTIONS, PROFESSIONAL
       COMPENSATION, AND OTHER DISBURSEMENTS ON A FINAL BASIS;
           (II) DISCHARGE THE RECEIVER; (III) DISMISSS THE CASE;
                      AND (IV) GRANT RELATED RELIEF1

        NOW COME BMO Harris Bank N.A., plaintiff herein (“BMO”) and Sandor Jacobson,

not individually, but as interim receiver (the “Receiver”) for KMH Systems, Inc. (“KMH”), and

jointly move for an order of Court: (i) approving all distributions, professional compensation,

and other disbursements by the Receiver on a final basis; (ii) discharging and releasing the

Receiver from his duties and responsibilities as a receiver herein; (iii) dismissing the above-

captioned case (the “Receivership Case”) without prejudice; and (iv) granting related relief (the

“Joint Motion”). In support of the Joint Motion, BMO and the Receiver respectfully state as

follows:

I.      INTRODUCTION

        1.       After a lengthy and sometimes tumultuous journey, the Receivership Case is now

ready to be dismissed. The business of KMH is no longer active, and its recoverable and saleable

assets have been liquidated. And most recently, facilitated by the Receiver and the Court, BMO




1
  Per the Court’s statements at the most recent hearing in this case, this Joint Motion may be granted in chambers
without a hearing absent a timely filed objection

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entered into a global settlement agreement with several individuals and entities related to

transfers of KMH’s property prior to the commencement of the Receivership Case.

        2.     By this Joint Motion, BMO and Receiver request dismissal of the Receivership

Case, as well as several measures intended to close out the administration of the case and ensure

finality. Such measures include approving all disbursements made by the Receiver on a final

basis; remitting the residual balance of receivership funds to BMO (subject to an obligation to

pay the Receiver and his counsel reasonable fees and expenses for the month of June 2021);

finding that the Receiver and his retained professionals have faithfully discharged their duties

and responsibilities; discharging the Receiver from further duties and responsibilities; permitting

the Receiver to return the books, records, and other documents of KMH to the company’s

officers; re-vesting all remaining property of the receivership estate in KMH; and lifting the

injunctions entered by the Court at the inception of the receivership.

II.     BACKGROUND

        3.     In the interest of economy, this Joint Motion assumes familiarity with KMH and

the events of the Receivership Case as related in detail in the Receiver’s Initial Report (ECF No.

30, the “Initial Receiver Report”); the Receiver’s Auction Report (ECF No. 45, the “Auction

Report”); the Receiver’s Second Report (ECF No. 54) (collectively with the Initial Receiver

Report and the Auction Report, the “Receiver Reports,” all of which are incorporated herein by

express reference); and other filings in the Receivership Case. The following section, therefore,

is intended only as a broad-strokes summary of the state of affairs prior to the inception of the

Receivership Case; the major events of the receivership; and the current status of KMH and its

assets, including a summary of all receipts and disbursements, and assets held, by the Receiver

through the date of the filing of this Joint Motion.




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       4.      Under its original business model, KMH operated from locations in seven states

nationwide, buying, selling, installing, leasing, servicing, and repairing commercial-grade

forklifts (and other material-handling equipment used for similar purposes). KMH’s operations

were financed by several secured and unsecured lenders, including BMO, which in 2017 made a

loan to KMH in the initial principal amount of seven million dollars ($7,000,000.00), secured by

a blanket lien on KMH’s property.

       5.      In 2018, KMH transferred three of its four operating divisions, and significant

assets attendant thereto, to newly created entities owned by insiders of KMH, leaving KMH a

shell of its former self (the “Spinoffs”). Notwithstanding this transfer, KMH and the newly

created entities continued to operate under the same roof, with essentially the same employees

and management.

       6.      BMO commenced the Receivership Case in January 2020, citing in its Complaint

KMH’s inability to satisfactorily operate and manage its business or to maintain and preserve

BMO’s collateral. See ECF No. 1. On March 3, 2020, the Court entered an order appointing the

Receiver as interim receiver for KMH. (ECF No. 17, the “Order Appointing Receiver.”) The

Order Appointing Receiver granted the Receiver a number of enumerated powers, including the

authority to supplant KMH’s possession and control of its property; to liquidate such property for

the benefit of KMH’s creditors; to pay himself and his retained professionals without further

order of Court (subject to monthly submission of itemized fee statements to BMO); and to

investigate KMH’s assets and pre-receivership activities. See id. ¶ 4.

       7.      The Order Appointing Receiver also imposed injunctions on KMH, its officers

and employees, and third parties. These injunctions forbid, among other things, interference with

the Receiver’s exclusive control and possession of the property of KMH, and the




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commencement, prosecution, or enforcement of lawsuits, liens, and other claims against KMG or

its property. See id. ¶ 5.

        8.      While assisted by the powers and injunctions granted to him by the Court, the

Receiver faced severe headwinds in his administration and investigation of KMH and its assets,

including the ongoing COVID-19 pandemic; the generally disorganized state of KMH’s business

operations, including poor recordkeeping and a failure to observe corporate formalities;

resistance and delayed responses from certain parties subpoenaed by the Receiver; and the

inconsistent cooperation and reliability of KMH’s leadership.

        9.      The Receiver doggedly overcame these obstacles to discharge his duties and

responsibilities in the Receivership Case. He liquidated all machinery, equipment insurance

policies, and other assets of KMH, including conducting an auction sale confirmed by the Court.

See Order Confirming Auction Sale, ECF No. 52. He investigated KMH’s assets, including the

identification of potential causes of action resulting from the Spinoffs. And most recently, he

acted as a mediator and lead negotiator to facilitate the successful (though somewhat

unconventional) settlement of claims related to the Spinoffs. See Mot. of Receiver to (1) Approve

Settlement Process; (2) Approve Form of Notice of Settlement to All Creditors; (3) Set Hearing

Date for Consideration of Entry of Final Order Approving Settlement; and (4) Grant Other and

Further Relief as Warranted, ECF No. 75.

        10.     Attached hereto as Exhibit A is a summary of all receipts and disbursements by

the Receiver over the course of the Receivership Case (the “Receipt and Disbursement

Summary”). As is reflected therein, BMO advanced a considerable amount of funding toward

the administrative expenses of the receivership estate. In February 2021, with Court approval, the

Receiver distributed to BMO $225,000, on a provisional basis, out of the proceeds of BMO’s

collateral. Otherwise, all disbursements by the Receiver to date have been to pay administrative

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expenses, including professional compensation. As of the date of the filing of this Joint Motion,

the Receiver is still holding approximately $157,000 in receivership funds.2

III.     RELIEF REQUESTED

         11.     The bare closing of the Receivership Case could be accomplished by the entry of

a mere docket entry or minute order. But such a resolution would leave a number of questions

open to interpretation, such as: (a) which of several injunctions entered in the Receivership Case

remain in effect, and which are lifted; (b) who has custody of the books, records, and other

documents of KMH, and who may destroy them after an appropriate period; (c) how to disburse

the residual balance of receivership funds; and (d) how will the Receiver and his counsel be paid

after the Receiver loses custody of those receivership funds.

         12.     It is possible that interested parties might interpret (and misinterpret) those and

similar questions, requiring the Court and other parties to expend resources to provide

clarification at an indefinite point in the future. BMO and the Receiver submit that the better

approach—at least in this case—is to provide unequivocal guidance about what is meant by the

closure of the Receivership Case and the discharge of the Receiver. Consequently, by this Joint

Motion, BMO and the Receiver request that the Court enter an order substantially in the form

attached hereto as Exhibit B (the “Proposed Order”).

         13.     The Proposed Order essentially contains three overarching forms of relief (with

other, related, relief included to provide clarification and ensure finality): (a) approval of all

distributions, professional compensation, and other disbursements by the Receiver on a final

basis; (b) discharge of the Receiver; and (c) dismissal of the Receivership Case.




2
   This amount does not include an erroneous credit of $90,000 to the receivership bank account by BMO on May
17, 2021. As of the date of the filing of this Joint Motion, the Receiver and BMO are working together to reverse
this credit.

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               A.      Final Approval of Disbursements

       14.     The Receiver’s disbursements in the Receivership Case, through the date of the

filing of this Joint Motion, are set forth in the Receipt and Disbursement Summary. As that

summary indicates, the majority of disbursements were made to the Receiver and his counsel for

their fees and expenses. The Order Appointing Receiver allowed such fees and expenses (and all

other expenses of the receivership estate) to be paid without court order, so long as itemized fee

statements were submitted to BMO on a monthly basis.

       15.     Other than professional fees, the Receiver’s disbursements have included

insurance expenses, noticing agent fees, bank fees, and the charges of an auctioneer retained to

sell assets of KMH, all of which BMO and the Receiver submit were necessary expenditures.

While the Order Appointing Receiver granted the Receiver considerable discretion in the

retention and payment of third parties, the Receiver has endeavored, in the interest of efficiency,

to keep such expenses to a minimum. Additionally, as authorized by the Court, the Receiver

made a provisional distribution of $225,000 to BMO from the proceeds of its collateral, to which

no party objected.

       16.     BMO and the Receiver request final approval of all disbursements set forth in the

Receipt and Disbursement Summary. Additionally, out of logistical necessity, BMO and the

Receiver request final approval of disbursements that have not yet occurred as of the date this

Joint Motion is filed, namely: (a) payment, by the Receiver, of the reasonable compensation and

expenses of the receivership estate incurred or accruing in the month of May 2021, including

professionals’ fees; (b) payment, by the Receiver, of the reasonable expenses of the receivership

estate incurred or accruing in the month of June 2021; (c) remittance of all remaining

receivership funds held by the Receiver to BMO upon entry of an order on this Joint Motion; and




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(d) payment by BMO of all reasonable fees and expenses of the Receiver and his counsel

incurred or accruing in June 2021.

       17.     BMO and the Receiver submit that the proposed final approval of disbursements

as set forth in the Receipts and Disbursements Summary, and the further proposed disbursements

to BMO, the Receiver, and the Receiver’s professionals, comport with the overarching directive

that distributions in a federal equity receivership be “fair and reasonable.” SEC v. Wealth Mgmt.

LLC, 628 F.3d 323, 333 (7th Cir. 2010) (applying this principle to a proposed plan of

distribution). The disbursements to the Receiver and his counsel by BMO also comport with the

maxim that “administrative expenses of a receivership are given priority over a vested lien.”

United States v. Kensington Shipyard & Drydock Corp., 187 F.2d 709, 716 (3d Cir. 1951).

       18.     Practically speaking, the Proposed Order serves to answer the logistical question

of who, once the Receiver is discharged and the Receivership Case is dismissed, is responsible

for paying the necessary fees and expenses of the Receiver and the Receiver’s counsel in the

month of June 2021. As the Proposed Order states, once the Receiver and the Receiver’s counsel

have finalized and invoiced their June 2021 fees and expenses, BMO will promptly pay such fees

and expenses, provided they are reasonable. And, should a dispute arise over the reasonableness

of such fees, the Court reserves jurisdiction to adjudicate it.

               B.      Discharge of the Receiver

       19.     BMO and the Receiver request the entry of an order releasing and discharging the

Receiver from his duties and responsibilities in the Receivership Case. Assuming that the Court

is satisfied with the Receiver’s efforts and his accounting of receipts and disbursements in the

Receivership Case, the Receiver is entitled to such release and discharge. See People of Puerto

Rico v. Bank of Nova Scotia, 116 F.2d 379, 381 (1st Cir. 1940) (“There being no further occasion




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for continuance of the receivership, and the receiver having fully accounted, he was entitled to

his discharge and the cancellation of his bond.”).

       20.     In connection with this discharge, BMO and the Receiver request that the Court

find that the Receiver and his retained professionals (when acting in their capacities as such)

have fully discharged their duties in the Receivership Case, whether arising under the Order

Appointing Receiver or otherwise, and have not committed any act of willful malfeasance or

gross negligence in connection with the Receivership Case. This order, too, merely implements a

longstanding principle of federal equity receiverships: that those who take issue with a receiver’s

acts must timely raise their objection, and cannot do so after the receiver is discharged. See Texas

& Pac. Ry. Co v. Manton, 164 U.S. 636, 640-41 (1897); cf. Pioche Mines Consol., Inc. v.

Dolman, 333 F.2d 257, 276 (9th Cir. 1964).

       21.     After his discharge, the Receiver will, in all likelihood, still be holding books,

records, and other documents furnished to him by KMH and its representatives (collectively,

“KMH Documents”). It is unknown whether the management of KMH will request such

documents, but the Proposed Order would permit the Receiver, in his discretion, to respond to

such a request by the appropriate parties. The Proposed Order would also direct the Receiver

retain these documents for one (1) year after the entry of the Proposed Order, and thereafter

permit the Receiver to destroy, or otherwise dispose of, the documents.

       C.      Dismissal of the Receivership Case

       22.     Neither BMO nor the Receiver has the authority, unilaterally, to dismiss the

Receivership Case. Under the applicable federal rule, “[a]n action in which a receiver has been

appointed may be dismissed only by court order.” Fed. R. Civ. P. 66. But as discussed herein in

more detail, both BMO and the Receiver have, in conformity with procedural requirements,

requested that the Court dismiss the Receivership Case without prejudice.

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        23.     The Proposed Order further clarifies that all injunctions arising solely under the

Order Appointing Receiver shall be lifted and of no further force or effect. Such injunctions

were, as the Court will likely agree, intended to facilitate the receivership process, and not to

remain as a permanent encumbrances on these assets. There remain, however, several injunctions

as set forth in the Proposed Order and the orders it references.

IV.     NOTICE

        24.    BMO and the Receiver have provided notice of the Joint Motion, in substantially

the form attached as Exhibit C hereto. BMO and the Receiver intend to mail this notice, in

substantially the same form, to all known creditors of KMH, provided that, upon receipt of an

“undeliverable” mail receipt, KMH shall have no further responsibility to determine the name

and/or address of the sender. BMO and the Receiver request a finding, in accordance with the

immediately foregoing paragraph, that the notice contained in Exhibit C is adequate and

sufficient under the circumstances.

V.      CONCLUSION

        For the foregoing reasons, BMO and the Receiver jointly request that the Court enter an

order consistent with the relief requested herein, substantially in the form attached hereto as

Exhibit B.

                                               Respectfully submitted,

                                               BMO HARRIS BANK N.A.

                                               By: /s/ James P. Sullivan
                                                       One of its attorneys

                                               SANDOR JACOBSON, not individually, but as
                                               interim receiver for KMH Systems, Inc.

                                               By: /s/ Adam P. Silverman
                                                       One of his attorneys



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                           Exhibit A to

    Joint Motion to (I) Approve All
      Distributions, Professional
Compensation, and Other Disbursements
  on a Final Basis; (II) Discharge the
 Receiver; (III) Dismiss the Case; and
       (IV) Grant Related Relief:

“Receipt and Disbursement Summary”
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                   KMH SYTSTEMS
           Receivership Actuals Cash Basis*                          Actual        Actual       Actual       Actual        Actual         Actual        Actual         Actual         Actual         Actual        Actual         Actual         Actual       Actual       Actual        Actual           TOTAL
                                                       Month #         1             2            3            4             5               6             7             8              9             10             11             12             13           14           15            16
                        Month                                        3/1/20        4/1/20       5/1/20       6/1/20        7/1/20         8/1/20        9/1/20        10/1/20        11/1/20        12/1/20        1/1/21         2/1/21         3/1/21       4/1/21       5/1/21        6/1/21

 1   Opening Cash Balance                                          $ -            $ 28,816    $ 19,552     $ 48,426      $ 48,169     $    48,022    $ 110,516      $ 353,674      $ 419,692      $ 393,838       $ 383,226      $ 383,181      $ 158,106    $ 157,709    $ 157,095     $ 156,961     $      -

 2   Cash Receipts
 3    AR collections                                                   28,816         8,442        2,621           497        4,598          9,803         13,476          1,340          1,387                                                                    161                                        71,142
 4    Life insurance CSV                                                                                                                    65,818                        39,546                                                                                                                             105,364
 5    Vehicle sale                                                                    9,000                                                                                                                                                                                                                    9,000
 6    Huntington Bank close out                                                                    6,858                                                                                                                                                                                                       6,858
 7    IRS refund                                                                                                 4,590                                                                                                                                                                                         4,590
 8    Nexen lift sale proceeds                                                                                                                             35,980         26,388          4,831                                                                                                               67,199
 9    Auction proceeds Maynards                                                                                                                           162,671                                                                                                                                            162,671
10    BMO funding for administrative expenses                                        58,263       97,180       68,245        60,876         49,712         62,755         45,670         59,711         60,523        52,605         38,447         38,853       36,357       38,139                         767,335
11    Other misc. receipts                                                                9                                                                31,519                                                                                                                                             31,528
12      Total Cash Receipts                                           28,816        75,714      106,659       73,332        65,474        125,334        306,400        112,943         65,930         60,523        52,605         38,447         38,853       36,517       38,139               -       1,225,687

13   Cash Disbursements
14    Receiver fees (Plante Moran)                                                  49,671        34,843       26,923        29,319         22,781         30,184         15,725         19,966         19,895        25,164         21,456         15,499       11,550        6,588                         329,563
15    Receiver counsel fees (Adelman & Gettleman)                                   22,910        39,426       41,323        31,557         26,932         32,571         29,945         39,745         40,628        27,442         16,991         23,354       24,807       31,552                         429,181
16    Insurance (GL)                                                                                 665          137           137            657                                                                                                                                                             1,596
17    Noticing agent fees (BMC Group)                                                   910          242        4,232         1,488         11,885                           767            578             88                             75         397          774          125                           21,560
18    Precision Accounting (BR by the hour)                                           2,828        2,535          975         3,120            585            488            488                                                                                                                              11,018
19    Bank fees                                                                          68           74                                                                                                                    45                                                                                   187
20    Maynards Equipment Appraisal                                                    8,591                                                                                                                                                                                                                    8,591
21    Nexen Settlement Payment                                                                                                                                                           31,495                                                                                                               31,495
22    Miscellaneous / IT                                                                                                                                                                                10,525                                                                      9                         10,534
23    Secured Creditor Paydown - BMO                                                                                                                                                                                                225,000                                                                  225,000
24      Total Cash Disbursements                                              -     84,977       77,785       73,589        65,621         62,839         63,242         46,924         91,784         71,135        52,650        263,522         39,250       37,131       38,273               -       1,068,725

25      Ending Cash Balance                                        $ 28,816 $ 19,552 $ 48,426 $ 48,169 $ 48,022 $ 110,516 $ 353,674 $ 419,692 $ 393,838 $ 383,226                                                 $ 383,181      $ 158,106      $ 157,709    $ 157,095    $ 156,961     $ 156,961          156,961
     * Amounts do not reflect an erroneous credit of $90,000 to receivership bank account by BMO Harris Bank N.A. on 5/17/21, which, as of the filing of the Joint Motion, is in the process of being reversed.
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                           Exhibit B to

    Joint Motion to (I) Approve All
      Distributions, Professional
Compensation, and Other Disbursements
  on a Final Basis; (II) Discharge the
 Receiver; (III) Dismiss the Case; and
       (IV) Grant Related Relief:

                    “Proposed Order”
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

BMO Harris Bank N.A.,                         )
                                              )               Case No. 20-cv-00740
                       Plaintiff,             )
                                              )
v.                                            )
                                              )               Hon. Charles P. Kocoras
KMH Systems, Inc.,                            )
                                              )
                       Defendant.             )
                                              )

          ORDER: (I) APPROVING ALL DISTRIBUTIONS, PROFESSIONAL
        COMPENSATION, AND OTHER DISBURSEMENTS ON A FINAL BASIS;
         (II) DISCHARGING THE RECEIVER; (III) DISMISSING THE CASE;
                     AND (IV) GRANTING RELATED RELIEF

        THIS CAUSE coming to be heard on the Joint Motion to: (I) Approve All Distributions,

Professional Compensation, and Other Disbursements on a Final Basis; (II) Discharge the

Receiver; (III) Dismiss the Case; and (IV) Grant Related Relief (the “Joint Motion”), filed

jointly by BMO Harris Bank N.A. (“BMO”) and Sandor Jacobson (the “Receiver”), not

individually, but as interim receiver for KMH Systems, Inc. (“KMH”); the Court having

jurisdiction over the parties to, and the subject matter of, the Joint Motion; the Court having

considered the Joint Motion and having heard the statements of counsel on the record; and the

Court being otherwise fully advised in the premises;

        NOW, THEREFORE, IT IS HEREBY ORDERED as follows:

        1.     The Joint Motion is hereby granted as provided herein.

        2.     The Court hereby approves, on a final basis, the Receiver’s disbursements of

funds of the receivership estate as set forth in Exhibit A to the Joint Motion, including all

professional compensation and expenses, plus payment of reasonable compensation and

expenses incurred or accruing in the month of May 2021 and any reasonable expenses incurred

or accruing in the month of June 2021 prior to the date of this Order.
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       3.      The Receiver’s payment of $225,000 to BMO of receivership funds constituting

proceeds of the collateral of BMO, approved on a provisional basis by an order of the Court

entered on February 3, 2021 [ECF No. 68], is hereby approved on a final basis.

       4.      Notwithstanding the discharge of the Receiver as set forth in this Order and the

dismissal of the above-captioned case (the “Receivership Case”), the Receiver is authorized and

directed, in a timely manner upon the entry of this Order, to pay the balance of receivership

estate funds in his possession or control as of the date of this Order (the “Residual Receivership

Funds”) to BMO, on a final basis, on account of BMO’s funding of the administrative expenses

of the receivership estate, and also BMO’s security interests in the property liquidated to

generate such Residual Receivership Funds.

       5.      Notwithstanding the discharge of the Receiver as set forth in this Order and the

dismissal of the Receivership Case, BMO is hereby authorized and directed to pay, from the

Residual Receivership Funds, the reasonable compensation and expenses of the Receiver and

counsel for the Receiver incurred or accruing in the month of June 2021, in a timely manner

upon receipt of invoices for such compensation and expenses. The Court reserves jurisdiction to

adjudicate any disputes over the reasonableness of such fees and expenses. Upon payment by

BMO, such compensation and expenses shall be deemed approved on a final basis.

       6.      The Court hereby finds that the Receiver, and the Receiver’s retained

professionals when acting in their capacities as such, have faithfully discharged their duties and

responsibilities under that certain Order Appointing Receiver entered by the Court as ECF No.

17 on March 3, 2020 (the “Order Appointing Receiver”) and the applicable laws pertaining to

receivers and their retained professionals, and have not committed any act of willful malfeasance

or gross negligence in connection therewith. The acts and conduct of the Receiver in the

performance of his duties and responsibilities are hereby ratified and confirmed.

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       7.        Immediately upon entry of this Order, the Receiver shall be forever discharged

and released from all of his duties and responsibilities as receiver for KMH, whether arising

pursuant to the Order Appointing Receiver or otherwise; provided, however, that

notwithstanding such discharge and release, the Receiver shall remain authorized and directed to

comply with the provisions of this Order.

       8.        The Receiver is authorized, but not directed, in his sole discretion, to turn over to

Michael Guenin, Thomas Godfrey, and/or Brian Ritchey, any books, records, or other documents

delivered to him by KMH or its representatives (collectively, “KMH Documents”), whereupon

the Receiver shall have no duty to preserve such KMH Documents. The Receiver shall preserve

all KMH Documents not turned over by the Receiver in accordance with the foregoing sentence

for a period of one (1) year following entry of this Order, at the conclusion of which the Receiver

shall be authorized, but not directed, to destroy or otherwise dispose of all such KMH

Documents, without the need for further act, deed, or order of Court.

       9.        The Receivership Case is hereby dismissed without prejudice, subject to the terms

of this Order.

       10.       Upon dismissal of the Receivership Case, all remaining property of the

receivership estate that the Receiver has not sold, distributed, or otherwise disposed of, excepting

only the Residual Receivership Funds and the KMH Documents, shall be revested in KMH.

       11.       Upon dismissal of the Receivership Case, all injunctions arising under the Order

Appointing Receiver shall be lifted and of no further force or effect. All other orders or

injunctions entered in the Receivership Case, including those set forth in this Order; the Order

Confirming Auction Sale [ECF No. 52]; and the Order: (I) Approving Settlement Process; (II)

Authorizing Receiver to Forbear from Enforcing Rights Related to Spinoffs; (III) Authorizing

Release of Such Rights Upon Satisfaction of Settlement; (IV) Enjoining Enforcement of Such

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Rights by Other Parties; and (V) Granting Related Relief [ECF No. 86] shall survive the

discharge of the Receiver and the dismissal of the Receivership Case pursuant to the terms

hereof, and shall remain in full force and effect.

       12.     The Notice of Joint Motion to (I) Approve All Distributions, Professional

Compensation, and Other Disbursements on a Final Basis; (II) Discharge the Receiver; III

Dismiss the Case; and (IV) Grant Related Relief attached as Exhibit C to the Joint Motion is

hereby approved, and the mailing of such notice as described in the Joint Motion is deemed to

have been adequate and sufficient notice to grant the relief provided herein.

       13.     The Court reserves exclusive jurisdiction to modify, supplement, interpret, and

enforce this Order and any other order entered in the Receivership Case.

                                               ENTERED:

Dated: June ___, 2021
Chicago, Illinois
                                               The Honorable Charles P. Kocoras
                                               United States District Judge



This order prepared by:
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Counsel for the Receiver




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                           Exhibit C to

    Joint Motion to (I) Approve All
      Distributions, Professional
Compensation, and Other Disbursements
  on a Final Basis; (II) Discharge the
 Receiver; (III) Dismiss the Case; and
       (IV) Grant Related Relief:

         “Notice of the Joint Motion”
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

BMO Harris Bank, N.A.,                       )
                                             )              Case No. 20-cv-00740
                      Plaintiff,             )
                                             )
v.                                           )
                                             )              Hon. Charles P. Kocoras
KMH Systems, Inc.,                           )
                                             )
                      Defendant.             )
                                             )

     NOTICE OF JOINT MOTION TO (I) APPROVE ALL DISTRIBUTIONS,
 PROFESSIONAL COMPENSATION, AND OTHER DISBURSEMENTS ON A FINAL
      BASIS; (II) DISCHARGE THE RECEIVER; (III) DISMISS THE CASE;
                      AND (IV) GRANT RELATED RELIEF

       PLEASE TAKE NOTICE that, on March 3, 2020, Sandor Jacobson (the “Receiver”)
was appointed by the United States District Court for the Northern District of Illinois (the
“Court”), in the above-captioned case, as the interim receiver for KMH Systems, Inc. (“KMH”),
on the motion of secured creditor BMO Harris Bank N.A. (“BMO”).

        PLEASE TAKE FURTHER NOTICE that, on June 7, 2021, the Receiver and BMO
filed with the Court that certain Joint Motion to (I) Approve All Distributions, Professional
Compensation, and Other Disbursements on a Final Basis; (II) Discharge the Receiver; (III)
Dismiss the Case; and (IV) Grant Related Relief (the “Joint Motion”). A copy of the Joint
Motion may be obtained by contacting counsel for the Receiver at the telephone number or
address indicated below.

        PLEASE TAKE FURTHER NOTICE that an order granting the Joint Motion may,
among other things, (a) terminate any rights or claims against the Receiver; (b) finalize all
disbursements by the Receiver, including the payment of residual receivership funds to BMO; (c)
forever discharge and release the Receiver and his counsel from all further responsibilities in
such roles, with a finding that they have faithfully discharged their duties in the above-captioned
case (the “Receivership Case”); (d) dismiss the Receivership Case without prejudice; and (e)
preserve the effectiveness of all orders and injunctions entered in the Receivership Case, with the
exception of those orders and injunctions contained in the Order Appointing Receiver [ECF No.
17].

        PLEASE TAKE FURTHER NOTICE that the deadline to object to the Joint Motion is
June 17, 2021 (the “Objection Deadline”). If you do not file a written objection to the Joint
Motion on or before the Objection Deadline, then your right to object to the Joint Motion may be
lost forever, and the relief requested in the Joint Motion may be granted by the Court in
chambers, on a permanent basis, without a hearing.

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       PLEASE TAKE FURTHER NOTICE that additional information about the Joint
Motion and the conduct and affairs of the Receiver and the Receivership Case may be obtained
from counsel for the Receiver at the address listed below. Note, however, that counsel for the
Receiver cannot provide you with legal advice.

                                                   SANDOR JACOBSON,
                                                   as receiver for KMH Systems, Inc.

Dated: June 7, 2021                                By: /s/ Adam P. Silverman
                                                           One of his attorneys

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